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                   IN THE I]NITED STATES DISTRICT COURT
                  FOR THE SOUTT{ERN DISTRICT OF GEORGIA
                              WAYCROSS DTVISION

EDWARD SCOTT, SHANNON                       )
AKIII and DEBBIE RICHARDS,                  )
et a1., on behalf of themselves and all     )
others similarly situated,                  )
                                            )
     Plaintffi,                             )
                                            )    CIVIL ACTION NO.
v.                                          )    5 : 1 8-CV-00006-LGW-BWC

                                            )
PAUL D. STLARMA,                             )
                                             )
     Defendant.                              )
                                             )




L       INTRODUCTION.
         plaintiffs Edward Scon, Shannon Akin and Debbie Richards (collectively

,.plaintiffs") and Defendant Paul Sharma ("Sharmd' at "Defendant") hereby move

jointly for approval of the Parties' settlement in     accordance   with applicable law

and for dismissal of this matter, without prejudice.

II.      FACTS.

         Plaintiffs worked in various capacities as Defendant's hotel, located in

 Douglas, Georgia. In their Complaint, Plaintiffs claim that they were not paid

 straight pay and oveftime compensation under the FLSA. Defendant denies that

 any such violations occurred and claim that Plaintiffs were not entitled to straight
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pay or overtime compensation.

        Plaintiffs also allege claims of retaliation resulting from their
                                                                          termination

                                                                Defendant denies
and eviction after complaining about Defendant's pay structure'
                                                                   retaliation-
taking any wrongful actions or that Plaintiffs have any actionable

related claims.

        On September 2A, 2A18, the parties participated in a mediation with
                                                                            the


Honorable Benjamin     w.   Cheesbro in waycross, Georgia.

        plaintiffs are seeking approval of the settlement reached with Defendant in

the amount of $35,000, representing $23,450'00 in 1099 non-wage
                                                                damages' and

                                                                        Agreement
Si1,550.00 in attorneys' fees and costs, as reflected in the Settlement

 filed concurrently herewith. The attomeys' fees represent an aggregate settiement

 for all of plaintiff s claims, and are based upon 35 hours of work at Plaintiffs'

 counsel,s regular rate of s300 per hour rate, plus costs.

 III. THE LEGAL STANDARD ON APPROVAL OF                                        FLSA
         SETTLEMENTS.
         Courts addressing the question of whether, and under what circumstances,

 the Department of Labor ("DOL") or Courl's approval of FLSA settlements is

 required base their analysis on two Supreme Court cases, Brooklyn Savings Bank v'

 o'Neill.324 U.S.    697 (1945) and D.A. schulte, Inc. v. Gangi,328 U.S. 108 (1946i).


 ln Brooklyn Savings,the Court held that employees could not waive their rights to

 full   damages and liquidated damages    in a private settlement where there was no
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bona fide dispute regarding the amount of wages owed. 324 U.S. at 704'
                                                                       In D'A'

Schulte, the Court barred enforcement of private settlements where the
                                                                       dispute


centered on whether an employer is covered under the      FLSA.     328 IJ'S' at 114'

                                                                          private
Those cases left open the question of whether there can be an enforceable

settlement of FLSA claims where there is a bona fide dispute regarding liability,

such as the number of hours worked or the amount          due.   Cheeks ,-. Freeport

Pancake House, Inc., 796F.3d 199, 2A3 Qd Cit' 2014)'

      The Eleventh Circuit addressed this question and ruled that private

settlements of a bona fide dispute under the FLSA could be enforced only
                                                                                if   the


district court or DOL first determines that the proposed settlement "is a fair and

reasonable resolution of a bona fide dispute over FLSA provisions." Lynn's Food

stores, Inc. v. united states, 679 F.2d 1350, 1355 (11th       cir. 1982);t see also

Cheeks, 796 F.3d at 199 (the Second Circuit held that voluntary dismissals of

FLSA claims w.ith prejudice require court or DOL approval). The Fifth Circuit, on

the other hand, found that private settlements of bona fide disputes under the FLSA

 could be enforceable. Martin v. Spring Break Productions, L.L.C., 688 F.3d 247,

 1 Although LWn's Foods referenced court approval resulting in a 'ostipulated
judgmenq" the Eleventh Circuit later clarified that LWn's Foods does not stand for
                              settlement of a FLSA claim must take any particular
         -Rakip that a valid
th"-p*position
 fo;. *It v. Paradise awnings corp.,514 F- App', 917,979-20 (Llth cir-
  ZAlr. only means that the distict court must take an active role in approving
 the settlement agreement to ensure that it is not the result of the employer using its
 superior bargaining position to take advantage of the employee." Id- (citiag Lynn's
 Food, 679 F .?d at 1354).
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256   (5th cir.Zal2). In Martin the court noted that concerns articulated in Lynn's

Foocl,namely, protecting unrepresented workers who were unaware of their FLSA

rights, were not implicated because the Martire plaintiffs settled a bona fide dispute

and were represented by counsel. Id. at256 n'10'

        Here, the Parties wish to achieve the finality and enforceability of a court-

approved settlement in light of the agreement(s) reached at mediation which are
                                                                                set


forth in the Settlement Agreement.

IV.     THE PARTIES ARE RESOLVING A BONA FIDE FLSA DISPUTE.
        Approving a settlement requires a determination that the agreement reflects

a ,,fair and reasonable resolution of a bona fide dispute over FLSA provisions'"

Saman v. LBDP,1rec., No. DKC-12-1083,           z}fi WL 2949047,   at *3 (D' Md. June

 13,2Al3) (citing Lynn's Food stores, Inc., 679 F.2d at 1354); see also curtis       v.

                                                                  *2 (D. Me.
scholarship storage izc., No. 2:14-CY-303-NT, 2016 WL 3072247, at

May 31,2016). Specifically, "the court's role is to ensure that the settlement
 .reflect[s] a reasonable compromise over issues...that are actually in dispute,"

rather than a pure discount on clearly-owed wages."      Curtis,z}rc WL 3072247      at

 *2 (citing Lynn's Food Stores, Inc., 679 F.2d at 1355). In determining whether a

 resolution is fair and reasonable, Courts generally consider the following factors:

 (1) the extent of discovery that has taken place; (2) the stage of the proceedings,

 including the complexiry*, expense and likely duration of the litigation; (3) the



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absence   of fraud or collusion in the settlement; (4) the experience of counsel who

have represented the plaintiffs; (5) the opinions of counsel; and (6) the
                                                                          probability

of plaintiffs' success on the merits and the amount of the settlement in relation to

the potential recovery. Saman, 2013 WL 2949A47,, at
                                                               *3.   Where the settlement

agreement provides for an award         of attorneys' fees, the courts examine whether

that amount is reasonable. See Silva v. Miller,307 F. App'x 349,351-52 (Llth Cir'

200e).

         Here, the factors weigh in l'avor of finding that the resolution set forth in the

parties, Settlement Agreement is fair and reasonable. The Parties have exchanged

discovery in this case which has made clear that any compromise of Plaintiffs'

FLSA claim is not a "pure discount on clearly-owed wages." Curtis,2016                Wt

 3072247 at *Z (citation    omitted). While Plaintiffs claim that they are entitled to

overtime damages for being misclassified as an independent contractor, Defendant

claims that it is exempt from the FLSA. Defendant's position casts doubt on the

validity of Plaintiffs' FLSA claims. Given the upcoming expenses of motions

practice and preparation for trial, it makes sense for the Parties to re-evaluate the

 strength   of their position at this   stage   of the arbitration. The produced evidence

 makes clear that the Parties' compromise is a reasonable attempt to efficiently

 dispose of this case and not an attempt by Defendant to unfairly pressure Plaintiffs

 into accepting a discount on wages'
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      In relation to the third factor, "[i]n the absence of any evidence to      the


contrary,   it is presumed that no fraud or collusion occurred." Winingear v. City of
                                                       *13 (E.D.Va. July 14,
Norfolk,No.2:12-cv-560,2014 U.S. Dist. LEXIS 97392, at

ZOl4). Neither parfy asserts there is any evidence of fraud regarding the Parties'

settlement. Compare Singleton, 146 F. Supp. 3d at 261 (stating that the Court

found no reason to suspect fraud or collusion)'

       Further, Plaintiffs' counsel    is of sufficient quality and experience    to


negotiate    a fair and reasonable sefilernent. Plaintiffs counsel's      experience


includes over ten years of practicing law, specializing in labor and emploYment

litigation on behalf of companies and individuals, and he has zealously advocated

for his client's interests both in discovery and during settlement negotiations- As   a


result, Plaintiffs adversarial interests have been adequately represented.       See


Curtis, 2016 \     fL i072247 at *3 (noting that counsel was "effective in their
advocacy      of settlement and responsive to [the court's] inquiries during the
                                      oocommitted time and resources to this suit,"
 settlement process" and that counsel

 all of which favors settlement approval). Counsel is of the opinion that         the

 proposed settlement represents a fair and reasonable settlement of a bona fide

 dispute.

       With regard to relative chances of success, the exchanged discovery and

 counsel's discussion have permitted both Parties were able to make informed,
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specific assessments of their respective cases and very educated evaluations of the

value of the claims and the risks of proceeding with their cases through hearing.

As a result of this exchanged information and discussions, each side was able to

make informed decisions and determine the appropriate amount to resolve the case

in lieu of   proceeding with the further time, expense inconvenience, risk and

uncertainty of fuither litigation of the claims. See Curtis,2A16WL3072247 at*3

(stating that when settlement accounts for the risks and costs associated with

continued litigation, the factor weighs          in favor of approval)' Therefore, the
settlement   is an informed resolution, with the Parties having "sufficient
information about the strengths and weaknesses of the claims at issue to make

informed decisions about settlement." Id. at
                                             *2. The settlement amount agreed

upon reflects a compromise by all Parties.

       Finally, given that Plaintiffs' counsel drafted a Complaint, an Amended

Complaint, the Parties exchanged discovery, and that the Parties engaged in

extensive settlement discussions, including a mediation, and in light of Plaintiff    s


counsel's experience discussed above, an award of $11,550 in attomeys' fees and

 costs, which amounts     to thirty-five hours of work under Plaintiffs      counsel's

 typically hourly rate of 5300, plus costs, is reasonable in this case.




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V.      CONCLUSION
        For the foregoing reasons, the Parties request that the Court aPProve the

settlement of Plaintiffs' wage claims.2

        This 17th daY of October,2018.

lsl                                               lsl
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The Kaspers Firm, LLC                             Ga Bar No. 652875
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Counsel for Plaintiffs                            Counsel for Defendants




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    A Proposed Order is attached hereto   as   "Exhibit 1.'
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                   IN TTIE UNITED STATES DISTRICT COURT
                  FOR TTM SOI]TT#RN DISTRICT OF GEORGIA
                             WAYCROSS DTYISION

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                                               )         CNIL ACTION NO.
v.                                             )         5:18-CV-00006-LGW-BWC
                                               )
SHALN B. SHARMA,                               )
                                               )
     Defendant.                                )
                                               )

                           CERTIFICATE OF SERVICE

        I hereby certiff that on the 17th of October, 201 8, I electronically filed the

foregoing JOINT MOTION FOR APPROVAL OF SETTLEN.{ENT with the cierk

of the Court by using the Court's CM/ECF system, which          will automatically serve

this document to the following attorney of record:

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